Case 2:99-cr-80508-AJT ECF No. 30 filed 11/18/04 PagelID.15 Page1of1
ORIGINAL |

Prob. 35 Report and Order Terminating Probation /Supervised Release
(1/92) Prior to Original Expiration Date

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UNITED STATES DISTRICT COURT F | L E D

 

for the
Eastern District of Michigan Nov 18 704
RK’S FORT
STRICT
UNITED STATES OF AMERICA US TERN MICHIGAN
Vv. Crim, No. 99-CR-80508-DT-02

ELLIARD, Douglas D.

On May 17, 2002, the above named was placed on supervised release for a period of three
years. The supervised rclcasee has complied with the rules and regulations of supervised release and
is no longer in necd of supervision. It is accordingly recommended that the supervised releasee be
discharged from supervision.

Respetfully submitted,

Uni és Probation Officer

ORDER OF THE COURT

Pursuant to the above report, it is ordered that the supervised releasee be discharged from
supervision and that the progcedings in the case be terminated.

Dated this day of Vem how 20 2 JL
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Honorable
United States District Judge

  

 
